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1                                              THE HONORABLE JOHN C. COUGHENOUR
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7                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
8                                          AT SEATTLE
9    UNITED STATES OF AMERICA,                          )
                                                        )       CASE NO.CR06-213JCC
10                                     Plaintiff,       )
                                                        )
11                    v.                                )       ORDER OF CONTINUANCE
                                                        )
12                                                      )
     KIMBERLY ROUSE,                                    )
13                                                      )
                                                        )
14                                   Defendant.         )
                                                            )
15

16           The Court having reviewed the stipulated motion by the United States and
17   defendant KIMBERLY ROUSE to continue the trial date, and having reviewed the
18   records and files herein, makes the following findings and enters the following order:
19           The Court finds that pursuant to 18 U.S.C. §3161(h)(8)(A) and §3161(h)(8)(B)(i)
20   and (B)(ii), the ends of justice served by continuing the trial date from October 30, 2006
21   to November 13, 2006, outweigh the best interests of the public and the defendant in a
22   speedy trial. This matter is complex due to the changing nature of the case and it is
23   therefore unreasonable to expect the parties to adequately prepare for trial before
24   November 13, 2006. Failure to grant a continuance to November 13, 2006 would deny
25   the defendant the time necessary for effective preparation, taking into account the
26   exercise of due diligence, and would result in a miscarriage of justice.
27           IT IS HEREBY ORDERED that trial in this matter is continued from
28   October 30, 2006 to November 13, 2006 at 9:30 a.m.

     Order to Continue Trial Date/
     ROUSE/ CR06-213JCC — 1                                                            UNITED STATES ATTORNEY
                                                                                        700 Stewart Street, Suite 5220
                                                                                       Seattle, Washington 98101-1271
                                                                                                (206) 553-7970
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1            IT IS FURTHER ORDERED that, for purposes of computing the time limitations

2    imposed by the Speedy Trial Act, 18 U.S.C. §§ 3161-3164, the period of delay from

3    October 30, 2006, up to and including November 13, 2006, is excludable time pursuant to

4    18 U.S.C. § 3161(h)(8)(B)(iv).

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7            DATED this 23rd day of October, 2006.

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14                                                   John C. Coughenour
                                                     United States District Judge
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17   Presented by:

18
      /s Jill Otake
19   JILL OTAKE
     Assistant United States Attorney
20   WA Bar # 28298
     United States Attorney’s Office
21   700 Stewart Street, Suite 5220
     Seattle, WA 98101
22   Telephone: (206) 553-4254
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     Order to Continue Trial Date/
     ROUSE/ CR06-213JCC — 2                                                         UNITED STATES ATTORNEY
                                                                                     700 Stewart Street, Suite 5220
                                                                                    Seattle, Washington 98101-1271
                                                                                             (206) 553-7970
